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         EXHIBIT C
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October 8, 2020

By International Courier

Ministerio de Finanzas de la Republica
Bolivariana de Venezuela
Direccion General Sectorial de Finanzas Publicas
Esquina de Carmelitas
Avenida Urdaneta
Edificio del Ministerio de Hacienda
Caracas, Venezuela
Attn: Director de Credito Publico

Banco Central de Venezuela
Esquina de Carmelitas
Avenida Urdaneta
Caracas 1010
Venezuela
Attn: Vice President of International Operations

         Re: Notice of Event of Default and Demand for Payment

Dear Sir or Madam:

        I write this letter on behalf Altana Credit Opportunities Fund SPC (“ACOF SPC”),
Altana Credit Opportunities Fund 1 SP (“ACOF 1 SP”), and Altana Funds Ltd. Cayman
(“Altana”). ACOF SPC, and its fund, ACOF 1 SP, are beneficial owners of certain bonds
(collectively) (the “Bonds”), identified in the attached Schedule 1. Altana acts as an
investment adviser and manager for ACOF SPC and ACOF 1 SP.

        The Bonds were issued by the Bolivarian Republic of Venezuela (“Venezuela”). They
are governed, respectively, by a fiscal agency agreement dated September 3, 1997, as
amended (the “1997 FAA”), for which Chase Manhattan Bank is the identified fiscal agent; a
fiscal agency agreement dated August 6, 1998, as amended (the “1998 FAA”), for which
Chase Manhattan Bank is the identified fiscal agent; or a fiscal agency agreement dated July
25, 2001, as amended (the “2001 FAA”), for which Deutsche Bank AG and Bankers Trust
Company are the identified fiscal agents. It is my understanding that BNY Mellon Global
Corporate Trust or J.P. Morgan Chase Bank may now be the fiscal agent for those Bonds for
which Chase Manhattan Bank was previously the fiscal agent.

        Beginning in October 2017, Venezuela has failed to make required semi-annual
interest payments on the Bonds. Venezuela has not made any of the required semi-annual
interest payments since that date. Venezuela has also failed to pay the entire principal amount
on the Bonds that have matured. Under the Bonds, coupon interest continues to accrue
whether or not their maturity date has passed.

       Therefore, an event of default has occurred under the Bonds’ terms. As a result,
ACOF SPC, ACOF 1 SP, and Altana present this demand that Venezuela pay to them all
accrued and unpaid interest on the Bonds currently due and payable, along with any interest
thereon, and the entire principal amount for those Bonds that have matured, along with any


Altana Funds Limited – Registered Office address: Walkers Corporate Limited, Cayman Corporate Centre, 27 Hospital Road,
                  George Town, Grand Cayman KY1-9008, Cayman Islands CIMA Registered (No.568525)
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interest thereon. Such entire amount should be forwarded to Altana, as investment adviser
and manager.

       We reserve all rights to take all necessary legal actions to enforce our rights,
including, without limitation, rights to prejudgment and post-judgment interest.

                                                        Sincerely,

                                                        /s/ Lee Robinson

                                                        CIO & Director, Altana Funds




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                                                    Schedule 1

                                                                                                       Interest
                                                                                          Principal
                                                                                                       Payment
No.       Issue                ISIN              Date Due                 FAA            Beneficially
                                                                                                         Dates
                                                                                           Held ($)
                                                                                                      (Annually)
         7.75%                                                                                         Apr. 13;
1                       USP97475AN08            10/13/2019            2001 FAA           54,565,600
      2019 Bonds                                                                                        Oct. 13
         6.00%                                                                                          June 9;
2                       USP97475AG56            12/09/2020            2001 FAA            5,704,500
      2020 Bonds                                                                                         Dec. 9
        12.75%                                                                                         Feb. 23;
3                       USP17625AC16            08/23/2022            2001 FAA            3,043,000
      2022 Bonds                                                                                        Aug. 23
         9.00%                                                                                          May 7;
4                       USP17625AA59            05/07/2023            2001 FAA           14,023,000
      2023 Bonds                                                                                         Nov. 7
         8.25%                                                                                         Apr. 13;
5                       USP97475AP55            10/13/2024            2001 FAA            1,751,900
      2024 Bonds                                                                                        Oct. 13
         7.65%                                                                                         Apr. 21;
6                       XS0217249126            04/21/2025            2001 FAA            1,212,000
      2025 Bonds                                                                                        Oct. 21
        11.75%                                                                                         Apr. 21;
7                       USP17625AE71            10/21/2026            2001 FAA            8,917,000
      2026 Bonds                                                                                        Oct. 21
         9.25%                                                                                         March 15;
8                       US922646AS37             9/15/2027            1997 FAA            4,538,000
      2027 Bonds                                                                                       Sept. 15
         9.25%                                                                                          May 7;
9                       USP17625AB33            05/07/2028            2001 FAA            6,485,000
      2028 Bonds                                                                                         Nov. 7
        11.95%                                                                                          Feb. 5;
10                      USP17625AD98            08/05/2031            2001 FAA            6,842,000
      2031 Bonds                                                                                         Aug. 5
        9.375%                                                                                          Jan. 13;
11                      US922646BL74            01/13/2034            1998 FAA            1,171,500
      2034 Bonds                                                                                        June 13
         7.00%                                                                                         March 31;
12                      USP97475AJ95            03/31/2038            2001 FAA             422,000
      2038 Bonds                                                                                       Sept. 30




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